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                              EXHIBIT 13




                                                                  PLAINTIFFS' EXHIBIT


                                                                    PX892
                                                                     Jones et al v. Desantis et al
                                                                       Case No. 4:19-cv-00300




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                                   March 2, 2020

                            United States District Court
                        for the Northern District of Florida
                                Tallahassee Division
Kelvin Jones,

      Plaintiffs,

      v.                                     Consolidated Case No. 4:19-cv-300

Ron DeSantis, etc., et al.,

      Defendants.
                    ____________________________________
                      Expert Report of Traci R. Burch, Ph.D.

                      Associate Professor of Political Science
                             Northwestern University
                    Scott Hall, Department of Political Science
                            Northwestern University,
                                Evanston, IL 60208
                                       and
                                Research Professor
                            American Bar Foundation
                          The American Bar Foundation
                      750 North Lake Shore Drive 4th Floor
                                 Chicago, IL 60611

  On Behalf of Plaintiffs Jeff Gruver, Emory Marquis “Marq” Mitchell, Betty
  Riddle, Kristopher Wrench, Keith Ivey, Karen Leicht, Raquel Wright, Steven
Phalen, Clifford Tyson, Jermaine Miller, Curtis D. Bryant, Jr., Jesse D. Hamilton,
  LaToya Moreland, Florida State Conference of the NAACP, Orange County
        Branch of the NAACP, and League of Women Voters of Florida


_________________________
Traci R. Burch, Ph.D.
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        I.    Background and Qualifications

        My name is Traci Burch. I am Associate Professor of Political Science at

Northwestern University and Research Professor at the American Bar Foundation.

I received my Ph.D. in Government and Social Policy from Harvard University in

2007.

        Over the past 15 years, I have led several large, long-term quantitative and

qualitative research projects on political participation in the United States, with a

particular focus on the ways in which interactions with the criminal justice system

can either mobilize or inhibit political participation. I am widely regarded as an

expert on the intersection of criminal justice and political participation, having

produced some of the first direct estimates of the voting patterns of individuals

who had been convicted of felony offenses. My work in this field has been widely

cited and has won several awards. In particular, my dissertation on felony

disfranchisement, “Punishment and Participation: How Criminal Convictions

Threaten American Democracy” won the Robert Noxon Toppan Prize for the Best

Dissertation on a Subject of Political Science at Harvard in 2007. I also achieved

national recognition for this work; the dissertation was also awarded the E.E.

Schattschneider Award from the American Political Science Association for the

best dissertation in American Government, and the William Anderson Award for

the best dissertation in federalism, intergovernmental relations, and state and local


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politics. Several articles from this dissertation, including work evaluating voting

patterns among people with felony convictions in Florida, have been published in

leading peer-reviewed journals such as Political Behavior and Law and Society

Review. My academic book on this matter, Trading Democracy for Justice, was

published by the University of Chicago Press and also won multiple national

awards from the American Political Science Association and its sections, including

the Ralph J. Bunche Award for the best scholarly work that explores the

phenomenon of ethnic and cultural pluralism and best book awards from the law

and politics and urban politics sections.

      I have testified before the U.S. Commission on Civil Rights about the

collateral consequences of felony convictions. I have received several grants for

my work, including a grant from the Stanford University Center on Poverty and

Inequality. I also serve as co-Principal Investigator on a National Science

Foundation grant that supports graduate and postdoctoral fellowships at the

American Bar Foundation. I have served on Editorial Boards of several leading

journals including Political Behavior and Law and Social Inquiry. Currently, I am

on the Board of Overseers for the General Social Survey, a longstanding national

public opinion survey run by the National Opinion Research Center at the

University of Chicago.




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       My curriculum vitae is provided in the Appendix. I am being compensated

$300 per hour for work in this case, plus expenses. This is my first engagement as

an expert witness.

       Counsel for the Plaintiffs in the above-captioned litigation retained me to

provide consultation and analysis on the impact of certain provisions of Senate Bill

(SB) 7066, which was adopted by the Florida state legislature and signed into law

on June 28, 2019. I have been asked to assess the burdens imposed on returning

citizens1 who seek to determine whether they have certain legal financial

obligations (LFOs), as defined by SB7066, so that they may determine whether

they are eligible to vote in the state of Florida. I also have been asked to assess the

consistency and reliability of the information provided by Florida officials about

what LFOs returning citizens may owe before registering to vote and voting.

       In formulating my opinions in this report, I draw primarily on standard

sources and methods in political science, including (1) a study conducted by me

and my research team, under my direction and supervision, of the LFOs of a

random sample of 153 Florida returning citizens; and (2) a second study of LFOs

and payment procedures, which we conducted through (a) phone calls with offices



1
       This report uses the term returning citizens to refer to people with felony
convictions (other than murder and sexual offense) who have completed any
incarceration and community supervision and would be eligible to vote but for
outstanding legal financial obligations under Florida law.
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of clerks of court and (b) reviewing and analyzing clerk online databases in all 67

of Florida’s counties. In the course of conducting this research, I also rely upon –

many other standard sources that include, but are not limited to, publicly available

data and reports produced by the Florida Department of Law Enforcement (FDLE);

the state’s county clerks of courts and their online databases; the Florida

Department of Corrections (FDOC); and other state and local agencies, national

public interest groups, and scholarly studies.

      II.    Summary of Opinions Offered

      As I will discuss below in greater detail, my report draws on a multi-stage

study examining three public sources of information about LFOs from Florida state

or county agencies, which do not include information about LFOs stemming from

out-of-state or federal convictions. Based on my preliminary analysis of the LFOs

assessed in 760 felony cases across a random sample of 153 Florida returning

citizens, the State of Florida cannot provide reliable or consistent information

about what LFOs returning citizens may owe when they are otherwise eligible to

register to vote and vote.

      SB7066 provides that county Supervisors of Elections (“Supervisors”) will

look to sources including, but not limited to “a clerk of the circuit court, the Board

of Executive Clemency, the Department of Corrections, the Department of Law

Enforcement, or a United States Attorney’s Office” in making determinations that


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LFOs have or have not been satisfied. Fla. Stat. § 98.075(5). My research team and

I attempted to verify criminal history and LFOs for a random sample of 153

individuals in the three public sources that contain information about LFOs

assessed at sentencing for state felony convictions—reports from the FDLE, online

databases of the clerks of the circuit court in several counties, and phone calls with

the clerks’ offices—to assess the consistency and accessibility of the information

that Florida’s sources are providing to the public. The goal of the research was to

determine what information Florida’s agencies are providing to the public and how

easy or difficult it is to obtain that information. As such, I was not attempting to

make a final determination of the true assessed amount for the individuals in my

study. Rather, I was interested in reporting what the agencies told me and how

easy or difficult it was to get these answers. With respect to accuracy, I draw my

conclusions based on discrepancies in the data provided throughout these sources.

Where there are discrepancies, only one (or none) of the reports can be accurate. I

do not otherwise attempt to test the accuracy of the reports provided by these

public sources.

      I am able to draw two conclusions from my analysis of these data. First, I

conclude that the state agencies we studied cannot provide consistent and reliable

information with regard to the LFOs owed to the state assessed in the “four corners

of the sentencing document.” Fla. Stat. § 98.0751(2)(a). This provision conditions


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voter restoration on the repayment of all LFOs contained in the “four corners of the

sentencing document.” I will show that we had several indicators that the data

provided by at least some of these sources was not reliable. We found major

discrepancies in the amounts initially assessed and still due according to

information from the county clerks’ offices as compared to the FDLE reports, and

as between the county clerks’ staff and their own online databases. These

discrepancies affect almost all of the 153 individuals in our study. In fact, only five

of the 153 people did not have discrepancies between the clerk online databases

and the FDLE report in any of their cases. When we include calls to the clerks of

court, we had difficulty reconciling the information across the FDLE report, the

clerks’ online data, and the information given to us by clerk staff for almost all of

the 153 individuals we researched. In particular, we were able to confirm that the

three sources matched for all cases for only three of the 153 people in the sample.

In other words, 98% of the 153 people in our sample experienced inconsistencies

across the three sources we considered for at least one, and sometimes all, of their

cases.

         The discrepancies are widespread. The FDLE reports conflicted with the

clerks’ online data in 79.6% of the cases we studied, and we could not validate the

clerks’ online data over the phone in 76.5% of cases. Moreover, the discrepancies

are serious. We count only discrepancies that represent more than 10% of the


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amount owed on a case or discrepancies that stem from missing cases and data.

The discrepancies result from issues such as different totals for the amounts

initially assessed, a lack of correspondence between cases (e.g., we found several

cases that appear in the FDLE report that we could not find in the clerks’ online

databases and vice versa), failures to update records (e.g., a clerk told us a debt was

due even though it was listed as paid on their website), and the inability or

unwillingness of clerks to answer questions over the phone. The effect of these

discrepancies is that a potential registrant may pay their LFOs based on

information from one source—and, therefore, believe they have satisfied their

obligation to vote under SB7066; and a Supervisor, relying on another source,

could conclude that the registrant has not satisfied their LFO obligations under

SB7066. A potential registrant also may decline to register because they cannot

conclusively determine if or how much they owe, or be in jeopardy of removal

from the voter rolls because a different agency or source may indicate that they

owe more money on the same case or even on a different set of cases altogether.

      I also find that the state will have difficulty disaggregating initially assessed

amounts from interest, fees, or other penalties that have accrued in some cases.

SB7066 explicitly states that the LFOs required to be paid to register to vote

“include only the amount specifically ordered by the court as part of the sentence

and do not include any fines, fees, or costs that accrue after the date the obligation


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is ordered as a part of the sentence.” Fla. Stat. § 98.0751(2)(a)(5)(c). In some

cases, it is possible to make this distinction. However, in other cases, it is unclear

whether the “amount due” (sometimes the only figure given online or over the

phone) includes collections fees or other surcharges in addition to the obligations

originally assessed in the “four corners of the sentencing document.” For instance,

in response to phone inquiries, staff in several clerks’ offices (Alachua, Nassau,

Duval, Holmes, Leon, Gadsden, Osceola, and Pinellas) either would not or could

not distinguish the portion of the LFO for the initial assessment from late charges

and other penalties in 25 cases. While it may be possible to refer directly to

sentencing documents to calculate the initial amount due, we found evidence that

at least ten counties—including Holmes, Okaloosa, Gulf, Dixie, Columbia,

Broward, and Pinellas—charge to access documents that could provide those initial

assessed amounts.

      Second, in addition to the widespread confusion that discrepancies in the

assessed amounts and payments across government sources will cause, we

identified several other burdensome policies at the state and county levels that will

likely affect many, if not all, returning citizens who attempt to determine and pay

their LFOs. These policies generally present three problems: (i) it can be

impossible to pay only the amounts assessed for felony convictions at the time of

sentencing and not also pay interest, collection agency fees, convenience fees, or


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other debt imposed after sentencing; (ii) clerks’ offices lacked the expertise and

capacity to help returning citizens determine their LFOs and which ones are

disqualifying for voting purposes; and/or (iii) there are burdensome administrative

costs associated with simply seeking access to LFO information. In fact, as a

result of such policies, I conclude that the process of researching and paying LFOs

is expensive, time consuming, and ultimately, discouraging for people who want to

vote.

        In my opinion, clerks’ offices are not equipped to accept and apply payments

only to amounts assessed in “the four corners of the sentencing document.”

SB7066’s LFO payment requirements “include only the amount specifically

ordered by the court as part of the sentence” and do not “include any fines, fees, or

costs that accrue after the date the obligation is ordered as a part of the sentence.”

Fla. Stat. § 98.075(5). However, based on my examination of county online

databases and Florida law, policies preventing partial payments and policies that

require the payment of interest, collection agency fees, convenience fees, or other

debt imposed after sentencing make it impossible for some returning citizens to

pay towards only the amounts originally assessed “in the four corners of the

sentencing document.” In at least 25 counties,2 policies require residents to pay


2
      These 25 counties are: Clay, Gilchrist, Gulf, Hardee, Charlotte, Bradford, Walton,
Lake, Polk, Collier, Miami-Dade, Santa Rosa, Seminole, Escambia, Brevard, Citrus, Lee,
Osceola, St. Lucie, Orange, Hernando, Manatee, St. Johns, Okaloosa, and Palm Beach.
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amounts beyond the LFOs assessed at sentencing on their felony cases when

making payments in some instances. These policies are especially strict for debts

that are in collections (and the state allows counties to turn over LFOs to debt

collectors after 90 days, per Florida Statute §§938.35 and 28.246). Clerks’ staff in

eight counties (Clay, Gilchrist, Gulf, Hardee, Charlotte, Bradford, Walton, and

Lake) agreed that it is not possible to make payments only toward the originally

assessed amounts and not the fees imposed after the sentence.

      Further, I also document that under the current policies against partial

payments in at least five counties—including Brevard, Miami Dade, Lee,

Okaloosa, and Palm Beach—clerks will refuse payments on debts in collections

from anyone who attempts to pay only an assessed amount without the additional

collections and other fees. These additional costs are not just nominal fees, as

these costs may add more than 40% to the assessed amount due. In at least seven

other counties (Collier, Hernando, Manatee, Orange, St. Lucie, St. Johns, and

Seminole), clerks do not accept payments on debts in collections at all; the

payments must go through collection agencies and are subject to the partial

payment policies of the specific agency. Some counties, such as Lee, Osceola, and

St. Lucie, prohibit partial payments unless the individual is enrolled in a payment

plan, which means that paying a partial payment equal to just the amount assessed

at sentencing is prohibited.


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      I also show that when county clerks do accept partial payments, policies at

the local and state levels still prevent the payment of costs exclusively from “the

four corners of the sentencing document.” In many counties, some of the payment

will be directed toward payment fees, which would leave outstanding debt. In

accordance with Florida Statute §§28.246 and 28.24(26)(b-c), some counties

charge either $5 per payment or a one-time $25 fee for processing partial payments

for each case, including through payment plans. I found explicit mention of these

fees on the online databases of Clay, Citrus, Brevard, Santa Rosa, Seminole,

Escambia, and Lee counties. These fees accrue on top of other payment or

processing fees such as Polk County’s $14 satisfaction fee that is added to all

payments or convenience fees that are added for credit card payments. As one

example, in Polk County, even if a returning citizen pays the $100 assessed against

her at sentencing, the clerk will not certify that the LFO is paid unless the returning

citizen also pays an additional $14 satisfaction fee. Therefore, such policies ensure

that only payment of all debts for felony cases—including the after-applied fees,

interest, and surcharges that are assessed on top of the originally ordered amount—

will practically meet SB7066’s obligation because counties may divert part of a

payment to satisfy these payment fees and not the amount from the four corners of

the sentencing document.




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       We uncovered additional burdens on determining the amount of and paying

off LFOs through our research on clerks’ online databases and processes and from

our analysis of LFOs in 760 cases of 153 Florida returning citizens. These issues

also complicated our attempts to get data on LFOs for our sample of 153 people.

In addition to the discrepancies we found with respect to missing cases and

differing assessed amounts, we found online databases with broken links or links to

entirely different cases than the ones we selected. We sometimes found it difficult

to look up cases in the online databases or by calling the clerks using case numbers

from the FDLE reports because the formats were not the same. One county

(Escambia) requires a certain format for case number searches on their website that

sometimes do not match FDLE Uniform Case Numbers. Calling the clerks’ offices

can take multiple attempts and long holds. Ultimately, we were unable to get

through to clerks to research 171 (of 677) cases (for 153 individuals) because no

one answered the phone in some counties despite repeated attempts.3 Other offices

operate under limited business hours because of cost constraints: for instance, the

Miami-Dade court of the circuit clerks’ office is open only three hours per day.

Some clerks refused to answer questions about cases or directed us to other


3
      These 171 cases were from Hillsborough, Orange, Pinellas, Miami-Dade, Lee,
Escambia, Alachua, Palm Beach, Madison, Wakulla, and Broward counties. Phone calls
have only 677 cases in the denominator because we were not able to make multiple
attempts to call 83 cases out of the 760.

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agencies. We were unable to research 235 of our 677 cases (for 153 individuals)

over the phone because clerks could not or would not help us.4 Some clerks’

online databases charged for access to their documents or other resources. Many

county online databases do not provide clear information about which debts are in

collections, or the amount of additional collections fees. During our initial round of

calls to research the process of looking up LFOs, staff in eight5 clerks’ offices told

us that people with felony convictions needed to file for clemency or check with

the parole or probation offices to vote.

       In the sections that follow, I provide more detailed data, documentation, and

examples to support these conclusions. First, however, I begin by briefly

reviewing the literature on LFOs that is relevant for this study. Following that

discussion, I will outline my research and data collection methods.

       III. Researching Statewide Legal Financial Obligations in the Absence
       of a Publicly Available Statewide Database

       LFOs imposed on convicted defendants (and sometimes imposed pre-

conviction) have increased in both frequency and amount in the United States,

generally, and Florida, specifically, over the past 25 years. Much of the explosion


4
       These 235 cases were from Hillsborough, Duval, Broward, Escambia, Pinellas,
Seminole, Volusia, Osceola, Miami-Dade, Leon, and Gadsden counties. Phone calls have
only 677 cases in the denominator because we were not able to make multiple attempts to
call 83 cases out of the 760.
5
       These counties are Hendry, Hernando, Highlands, Hamilton, Gadsden, Hardee,
Calhoun, and Walton.
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stems from the difficulty of financing expensive criminal justice systems in the

face of tight state and local budgets, especially in Florida where there is no income

tax. Nationally, a majority of inmates and 84% of people sentenced to probation

were also assessed a fine or fee upon conviction, and nearly 40% of people

sentenced to probation were required to pay restitution upon conviction.6

According to a Brennan Center for Justice report, in addition to restitution, Florida

courts can impose nearly numerous fines and/or fees upon conviction for a crime,

many of which are mandatory.7

       The imposition of LFOs by legislatures has proceeded in many instances

without any corresponding investment in the administrative capacity necessary to

implement them effectively. As a result, many states lack a centralized system

designed to keep track of the obligations imposed on individuals by the patchwork

of institutions that impose legal debt. Florida is no exception. I was not able to

find a single complete data source that could provide the information required



6
        Harris, Alexes, Heather Evans, and Katherine Beckett. “Drawing Blood from
Stones: Legal Debt and Social Inequality in the Contemporary United States.” American
Journal of Sociology 115.6 (2010): 1753-799. Web.
7
        Diller, Rebekah. “The Hidden Cost of Florida’s Criminal Justice Fees.” Brennan
Center for Justice, (2010),
https://www.brennancenter.org/sites/default/files/legacy/Justice/FloridaF&F.pdf, last
accessed 2/26/2020; See also Menendez, Matthew and Lauren-Brooke Eisen. “The Steep
Costs of Criminal Justice Fees and Fines.” Brennan Center for Justice, (2019),
https://www.brennancenter.org/our-work/research-reports/steep-costs-criminal-justice-
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under SB7066—that is, that would provide information about the completion of

prison, probation, parole, court-ordered fines, fees, costs, and restitution.8

Currently, aside from restitution payees who may sometimes be able to collect on

their own, the administrative responsibility for these debts is fragmented across

many Florida actors, including judges, county attorneys, court administrators,

clerks, probation and parole officers, and prison officials, which means that fines

and fees are levied and collected by different agencies without coordination. A

joint report by the Bureau of Justice Assistance and the Justice Center of the

Council of State Governments recommends that agencies coordinate and integrate

distinct policies, procedures, and information systems to consolidate the fines, fees,

and restitution owed by each individual.9 As of the date of this report, it does not

appear that Florida, however, has yet to start much less complete such integration.

       The collection of legal debts by multiple agencies with limited resources

makes debt collection and communication with debtors less efficient. In Florida,

LFOs may be collected by the FDLE, FDOC, or the clerk of the circuit court in

which the conviction occurred. Some debts may have been turned over to



8
        Supplemental Expert Report of Daniel A. Smith, Ph.D., Jones v. DeSantis, N.D.
Fla., No. 4:19-cv-300-RH/MJF, ECF No. 153-1, September 17, 2019.
9
        McLean, Rachel and Michael Thompson. “Repaying Debts”. Council of State
Governments Justice Center, (2007). Print. Summary available at
https://csgjusticecenter.org/wp-content/uploads/2012/12/repaying_debts_summary.pdf,
last accessed 02/28/2020.
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collection agencies as well. LFOs imposed for federal convictions and convictions

in other states also are implicated by SB7066’s requirements.

        Accounting for this reality, SB7066 allows elections Supervisors to consult

with a range of sources including but not limited to, “a clerk of the circuit court,

the Board of Executive Clemency, the Department of Corrections, the Department

of Law Enforcement, or a United States Attorney’s Office,” in making

determinations about the status of LFOs associated with felony sentences. Fla. Stat.

§ 98.075(5). There is some indication of coordination across these sources with

respect to the accuracy of information (for instance, the FDLE receives

information about cases and dispositions from the county circuit court clerks

through the LOGAN reporting system).10 However, it is still an open question as

to whether the public can access the data from the clerks’ offices or FDLE, and if

so, whether these sources would give the same information about the obligations,

financial and otherwise, imposed by courts in individual cases. Moreover, there are

some sources that are not available to the public, such as the Comprehensive Case

Information System (CCIS).




10
        FDLE Criminal Justice Information Services Crime Information Bureau, FDLE
Update presented to: Florida Clerks and Comptrollers 2015 Summer Conference, (2015),
https://cdn.ymaws.com/www.flclerks.com/resource/resmgr/LOGAN.pdf (last accessed
Feb. 26, 2020).
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      IV.    Methodology

      Given the importance of the data sources enumerated in SB7066 to the

election Supervisors’ decisions about eligibility, it is necessary to take a closer

look at these data sources to determine whether people who have exited custody

and are otherwise eligible to register and vote can access and use them to get

accurate information about the existence and status of their LFOs. My report

draws on a multi-stage study that examines the three public sources of information

about LFOs assessed for felony convictions in Florida’s circuit courts, which are

referenced in SB7066: (i) reports generated by the FDLE, (ii) the online databases

of clerks of the court, and (iii) the staff of the clerks of the circuit courts. We do

not examine data from the FDOC or Board of Executive Clemency because their

LFO data are not generally accessible to the public and we are not interested in

LFOs assessed for supervision; we do not examine US Attorneys’ Offices because

we are not looking at LFOs from federal cases. Nor do we examine data from out-

of-state convictions.

      Initially, my research team and I accessed the county circuit courts’ online

databases in all 67 counties and collected data on such factors as (a) the time,

information, or other resources needed to access case dispositions, (b) whether

sentencing documents were available online, (c) convenience and other fees for

accessing information, documents, and making payments, (d) the availability of


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online payments, and (e) other payment policies.11 We also called the clerks’

offices in all 67 counties to ask questions about the process for looking up LFOs by

phone. The calls were made between September 27 and November 25, 2019.

        We followed up this initial cataloguing of general information by attempting

to research LFOs for a random sample of 153 individuals.12 First, we purchased


11
        It is important to note that about 30 clerk websites utilized common content from a
template. This template content did not provide much information about payment
policies, collections fees, or other information we sought in the study.
12
        Counsel for Gruver Plaintiffs provided me with a list of 229,608 individuals who
had exited supervision for felony convictions (excluding murder or sex offenses) in
Florida state courts who had been assessed LFOs at the time of sentencing. We used a
random number generator to produce our sample from people with addresses in Bunnell,
Clearwater, Ft. Lauderdale, Gainesville, Jacksonville, Kissimmee, Pensacola, Quincy, St.
Petersburg, Tallahassee, and Tampa from this list. Narrowing the sample to cities in just
a few counties would allow for sufficient sample size for county-level analyses if
necessary. The counties were matched in terms of presidential party vote choice, racial
diversity, and population size. Our target sample size was 150 people. To estimate an
error rate is to estimate a proportion. Estimating the appropriate sample size is an inexact
science that requires a number of assumptions, balanced by experience and efficiency
concerns. Because I was interested in both individual-level and case-level estimates, I
wanted to get a sufficient number of both to make inferences. Under the assumptions that
each person has, on average, three felony cases and that the true error rate in the
population for individuals is 10%, we arrive at an individual level sample size minimum
of 138 to be able to calculate a margin of error within +/- five percentage points at
traditional levels of statistical significance and power. This sample size more than allows
for the calculation of margins of error within +/- five percentage points at the case level
regardless of the true error rate in the cases (minimum sample size =384 cases; assuming
three cases per person gives 414 cases). Even at a 50% error rate, a sample size of 150
individuals would give confidence intervals of +/- eight percentage points at traditional
levels of statistical significance and power. Since it turns out that the error rate at the
individual level is 98%, the sample size of 153 individuals is more than sufficient to give
estimates with a margin of error close to +/- two percentage points. Also, since I found
about five cases per person in my sample, 760 cases was enough to get close to a margin
of error about +/- three percentage points even at an error rate of about 20-25% for FDLE
and phone comparisons on individual cases.

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public criminal background reports on those 153 individuals from the FDLE at a

cost of $25 per report (including a $1 convenience fee) and recorded data on the

amount assessed for court costs, fines, fees, and restitution associated with felony

convictions.13 We also recorded sentencing dates, the race, counties of conviction,

and other data about the person convicted of the felony. We then attempted to

verify the information from the FDLE background report first via the clerks’ online

databases accessible to the public, and then again via phone calls to the county

clerks’ offices. We searched the clerks’ databases for individual cases listed in the

FDLE report, and also in the conviction counties listed in the FDLE report by

name and date of birth to look for felony cases that might be in the clerks’ records

but not in the FDLE records.

        We kept track of numerous variables for both the calls and online searches.

For both the database searches and the calls, researchers were trained to look for or

ask about several items that would be useful for calculating the amount due on

LFOs, including the amount initially assessed at sentencing for fines, fees, court

costs, and restitution, the total amount of payments made, the amount still due on

the initial assessed amount, any late fees or other charges that had been assessed,

and the total amount due. We kept track of the financial costs associated with



13
      Individuals are supposed to be able to access their own FDLE report free of
charge.
                                           21




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looking up cases. We also tracked the time it took to research cases online or the

time we spent on calls for the cases. We kept notes about the outcomes of online

searches and calls, such as when we or the clerks could not find cases. Finally, we

also recorded qualitative information such as our impressions, direct quotations,

problems we encountered, or sources of confusion. I provide detailed descriptions

of any and all scripts we used for phone calls in the Appendix to this report.

      The research design outlined here has several strengths. Most importantly,

relying on a random sample of the population of the returning citizens who might

register to vote allows me to produce an unbiased estimate of the discrepancies in

LFO amounts between sources, the number of individuals affected by such

discrepancies, the average investment of time and money an individual would need

to make to look up cases, and other factors. We did not cherry-pick subjects based

on whether they might have errors; each person in the data had an equal likelihood

of being part of our analysis. The research design also allows me to assess

qualitative factors related to looking up information, such as difficulty in

interpreting case records or the helpfulness of clerk staff. Finally, I was able to

learn about aspects of the process—including policies about making payments—

that might ultimately affect whether a person could satisfy their LFOs.

      It is also worth noting, however, that this methodology allowed me to

identify inconsistencies in the state’s information on outstanding LFOs, not the


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actual amount owed. Due to the nature of the process of looking up LFOs set up

by the clerks’ offices, especially the lack of a statewide, comprehensive, unified

database of information about LFOs imposed by various entities in the state, my

estimates of the LFOs owed by each person are only as reliable as the information I

was able to obtain from the state and clerks of court. In fact, the point, as I will

show below, is that state and local agencies often give out conflicting information

about LFOs. For this reason, I do not provide estimates of the amount of LFOs

owed for felony convictions.

      Moreover, my estimates of the effort needed to obtain information about

LFOs are conservative for several reasons. First, I do not consider convictions that

take place in federal or other state courts, the addition of which involve other data

sources and may incur further time and other burdens. I also do not count the

significant amount of time spent looking through and discarding misdemeanor and

traffic cases that often came up in public records in addition to the felony cases at

issue here. We only researched cases in counties for which we had evidence that

an individual might have felony convictions—typically the county of residence and

all conviction counties listed in the criminal background check document we

purchased from the FDLE. We found evidence that 23 people in the sample had

cases in multiple counties. We did not search databases or make calls to all 67

counties for all 153 individuals in the study, as one would need to do to verify that


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there were not additional, outstanding LFOs in other counties that were not

included in the FDLE report. As shown below, we did find some evidence that the

FDLE reports are not comprehensive in that there were some cases in the clerk

data that did not appear on the FDLE report, so calling counties beyond those

included in the FDLE may be necessary to ensure that there are no outstanding

LFOs. I also do not consider or comprehensively quantify the time or money it

may take to sort out discrepancies in LFOs across sources when possible, either by

contacting the clerks’ offices by phone or in person, obtaining receipts or other

proof of payment, or looking up sentencing documents. As a result, even with the

extent of the problems I am able to document, my research still underestimates the

true burden of establishing the LFOs that must be satisfied before a person can

register to vote and vote.

      V.     Results: Financial Costs and other Barriers to Accessing Accurate
             and Complete Information

      Navigating bureaucracies can be quite difficult and time consuming for most

people, who encounter government agencies only periodically. Rational choice is

one theory that is helpful for understanding individual behavior, such as whether to

contact a government agency. In this context, rational choice theory posits that

individuals choose to engage in or abstain from a behavior based on whether they

believe the benefits they receive from engaging will outweigh the associated costs



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of activity.14 Engaging with a bureaucracy is costly to the extent that researching

who to contact and then visiting or calling to get information requires time and

money.15

         State and local agencies determine how much time and money an individual

needs to invest to obtain information by setting the rules for accessing

information—by making it freely available on the web, or by requiring forms or

other steps for access. They can also set their hours and staffing to increase service

and train staff to be more or less helpful. In particular, the agency experience in

terms of staff knowledgeability, friendliness, and helpfulness matters a great deal.

As White, Nathan, and Faller (2015) write:

         Recent scholarship, however, has shown that small changes in the costs
         of obtaining information about an action can significantly influence
         voluntary behaviors. For example, simplifying information and
         providing assistance in completing forms can lead to significantly
         higher rates of college enrollment among students from low-income
         families (Bettinger et al. 2012), more applications to selective colleges
         from high-achieving students who are eligible for scholarships (Hoxby
         and Turner 2013), and higher uptake of valuable tax credits among
         eligible tax payers (Bhargava and Manoli 2013; Saez 2009).
         Importantly, these experimental studies show that small information




14
         Downs, Anthony. An Economic Theory of Democracy. New York: Harper, 1957.
Print.
15
       Downs, Anthony. An Economic Theory of Democracy. New York: Harper, 1957;
Verba, Sidney, Kay Lehman Schlozman, , and Henry Brady.. Voice and Equality: Civic
Voluntarism in American Politics. Cambridge, Mass.: Harvard University Press. 1995.
Print.

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        costs deter action even when substantial individual benefits are at
        stake.16

        State and local government staff have a great deal of control over access to

information. White, Nathan, and Faller (2015) argue that “resource-constrained

bureaucrats frequently have discretion over which services are delivered and to

whom; discretionary decisions made by local bureaucrats often become de facto

public policy.”17

        For individuals seeking information, their ability to bear the cost of engaging

with a bureaucracy is greatly affected by their resources such as time, money,

education, and civic skills.18 It is worth noting that my research team and I are all

highly educated (aside from me, there are four advanced undergraduates and six

people with masters’ degrees all associated with major research universities on the

project). We also had the benefit of sharing our collective wisdom and experience

gained over (approximately two months of) time from investigating multiple cases

across Florida. However, it is no secret that people with felony convictions tend to



16
       White, Ariel, Noah Nathan, and Julie Faller. “What Do I Need to Vote?
Bureaucratic Discretion and Discrimination by Local Election Officials.” The American
Political Science Review 109.1 (2015): 129-42. Web.
17
       White, Ariel, Noah Nathan, and Julie Faller. “What Do I Need to Vote?
Bureaucratic Discretion and Discrimination by Local Election Officials.” The American
Political Science Review 109.1 (2015): 129-42. Web.
18
       Verba, Sidney, Kay Lehman Schlozman, and Henry Brady. Voice and Equality:
Civic Voluntarism in American Politics. Cambridge, Mass.: Harvard University Press.
1995.

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have access to fewer resources than the rest of the population even prior to their

convictions. For instance, in a national sample of state prisoners, about 70% of

state inmates and 40% of state probationers did not have a high school diploma—

in comparison, only 18% of the general population lacked high school diplomas.19

Only 55% of state prisoners were employed full time at the time of their arrest and

only 15% reported earning more than $25,000 before their arrest.20 Thus, our

estimates of difficulties are only a floor—the general public are likely to have an

even more difficult time navigating what I will show to be a very cumbersome

system.

        My research team and I encountered several barriers that arose during our

interactions with the clerks over the phone and in the online databases that made it

difficult to calculate LFOs for particular individuals. These barriers required

resources such as time, money, and civic skills to navigate successfully, and even

then we were sometimes unable to do so. I detail the issues we encountered below.




19
        Harlow, C. W. “Education and Correctional Populations.” Bureau of Justice
Statistics. (2003), https://www.bjs.gov/content/pub/pdf/ecp.pdf , last accessed February
26, 2020.
20
        Beck, Allen et al. “Survey of State Prison Inmates, 1991.” NCJ 136949, United
States Department of Justice, Bureau of Justice Statistics, (1993),
https://www.bjs.gov/content/pub/pdf/SOSPI91.PDF, last accessed February 26, 2020.

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             A.     Problems Encountered During Phone Calls with Clerks’
                    Offices

      With respect to our calls to the clerks’ offices, we encountered several issues

that made looking up LFOs particularly burdensome. Figure 1 below summarizes

the problems we encountered in our initial calls to clerks of court to document

processes across all 67 counties. First, we experienced long wait times and

difficulty getting someone on the line when we called some offices. For our initial

call to research the lookup process in Jefferson County, for instance, our team had

to call the clerk’s office five times before someone answered the phone. In Palm

Beach County, wait times were extraordinarily long—the recording said we were

35th in the queue and the system disconnected the calls after 30 minutes of waiting.

We were disconnected several times. The Public Records center line was often

busy in Escambia County. In Miami-Dade County, the clerk’s office had reduced

hours (including telephone hours) because of budget cuts—to 9am-12pm on

Monday through Friday, times when most people are working and may be unable

to call to look up their LFOs. When we called the Miami-Dade Clerk to look up

cases for an individual, we were told that “they do not take calls for this matter as

they are understaffed and to email or look online.” We could not get a live person

on the phone in Hillsborough County at times and often their automated system

could not find the cases we requested. Palm Beach County also had a queue when


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we called to look up individual cases, and we never got through to the clerk either

to look up cases or ask questions about the process. Ultimately, we were unable to

look up 25% (of 677) cases over the phone because of problems getting through.

        In cases where someone answered the phone, we experienced hold times

longer than 10 minutes for 11 counties (including Marion, Miami-Dade, Monroe,

Sarasota, Brevard, Broward, Flagler, Duval, and Hillsborough) when we called to

research general information about the process of looking up LFOs. We also

recorded several instances of long wait times (10 minutes or more) for information

on specific cases.

        Second, even when we got through to a live person, sometimes a member of

the clerks’ staff could not or would not provide information to us over the phone.

Staff refused to help us on a number of occasions for several reasons. In our initial

calls for information about the process, clerks’ office staff in eight of 67 counties

directed us to other offices (such as collections agencies or Parole and Probation)

because they did not think they could help us because of concerns about felon

voting (Hendry, Hernando, Highlands, Hamilton, Gadsden, Hardee, Calhoun, and

Walton counties, as discussed in more detail below). In response to inquiries about

particular cases, the clerks in at least two counties, Broward21 and Escambia, do



21
       We were told that in Broward, no information on closed cases could be provided
over the phone.
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not provide information about at least some LFOs over the phone and require all

requests to be made in writing. In Broward, the written requests must be made for

closed cases and responses often take three to four weeks according to the clerk’s

office. Several other counties, including Charlotte, Pinellas, Polk, and

Hillsborough, also require requests for information on older cases to be made in

writing.22 We were told that the Volusia County clerk’s office, as another

example, does not answer questions over the phone about cases sentenced 2013

and earlier. Occasionally, a staff member would refuse to look up LFO

information for a particular individual because they had too many cases—we

received this response in Duval, Hillsborough, and Pinellas counties. For instance,

in Pinellas County, we were told that clerks would only look up three cases per

individual at a time over the phone. Duval County also implemented a policy in

which clerks would only look up three cases at a time. Broward County has a

similar three-case policy as well (for open cases—closed cases require a written

request). It is worth noting that 56.86% of our sample of 153 individuals had more

than three felony cases, which means that most of our sample would have to call

the clerks’ office multiple times to look up all their cases if they had felony

convictions in counties with such a policy. One research assistant could not


22
      For this report, we are not defining what “older cases” means because it varied
from county to county and there was no clear cut off date. For example, a common
response would be that a case “is so old that it is not in my system.”
                                           30




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research LFOs for six individuals in Duval County because the clerk refused to

help and directed our caller to “just check the website,” despite our caller

discussing with the clerk that sometimes the two sources conflicted. We had other

clerks direct us to use the website in lieu of talking to them as well. Overall, we

were not able to look up information over the phone for 235 cases (34.7% of our

sample) because clerks could not or would not help us.

        Finally, an unexpected barrier arose during some of our initial inquiries

about the process of looking up LFOs: clerks’ staff in several counties gave out

information that cast doubt on the ability of people with felony convictions to vote

in Florida. As noted in the script used by callers appended to this report, our

research team called each office saying that they wanted to help a family member

figure out how much money they owed in LFOs so that the family member could

register to vote.23 (We did not state that we were calling about a relative or family



23
        Such audit studies that request or apply for information from government agencies
are common, and institutional review practices exempt elected and appointed government
officials (such as county clerks) from protections afforded other human subjects. For
example, see the National Science Foundation’s policy, 45 CFR Part 690: Federal Policy
for the Protection of Human Subjects, here:
https://www.nsf.gov/bfa/dias/policy/docs/45cfr690.pdf, Last accessed 02/26/2020. For
examples of research, see White, Ariel, Noah Nathan, and Julie Faller. “What Do I Need
to Vote? Bureaucratic Discretion and Discrimination by Local Election Officials.” The
American Political Science Review 109.1 (2015): 129-42. Web. Also, Ewald, Alec. “A
Crazy-Quilt of Tiny Pieces: State and Local Administration of American
Disenfranchisement Law”. The Sentencing Project, (2005),
https://www.sentencingproject.org/wp-content/uploads/2016/01/A-Crazy-Quilt-of-Tiny-

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member when looking up LFOs for the 153 specific individuals, just in the calls for

general information.) As shown in Figure 1 below, in response to this prompt,

eight of the 67 offices (11.9%) told the caller that they did not think a person with

a felony conviction could vote and suggested they call the “election supervisors,”

“clemency board,” or “parole and probation” to check. Specifically, clerks’ office

staff in Hendry, Hernando, Highlands, Hamilton, Gadsden, Hardee, Calhoun, and

Walton counties gave such responses. For instance, in Walton County, our caller

was directed to “come down to the office to get a petition for clemency through the

Tallahassee office of the executive in order to be able to vote.” The felony clerk in

Hamilton County insisted that we call Probation and Parole about paying LFOs to

vote because “all fines needed to be paid through them.” The clerk in Gadsden

County also told us that felons could not vote unless they apply for clemency first.

There was also some confusion among the clerks’ staff—the Broward clerks’

office told us that there was nothing “in the book” about paying fines to vote. The

Brevard County Clerk also said they had not heard about anyone paying fines to

vote.




Pieces-State-and-Local-Administration-of-American-Criminal-Disenfranchisement-
Laws.pdf. Last accessed 02/26/2020.

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                                   Barriers to Researching Debt

                         Need Case Number                         17.9%

          Photo Identification Mentioned or
                                                            14.9%
                      Required

                            Refused to Help                  16.4%


                            Long Wait Times                  16.4%


                  Told Felons Could Not Vote              11.9%

                                           0.0%   10.0%      20.0%        30.0%   40.0%   50.0%




Figure 1: Barriers to Researching Debt. Data from initial calls to all 67 Florida
counties.
             B.        Problems Encountered in Online Databases

      We also encountered difficulties during our attempts to look up cases for the

153 individuals in the clerks’ online databases. We found several instances in

which Uniform Case Numbers on the FDLE report did not match case numbers in

the clerks’ online databases or over the phone. We found 35 cases affected by this

problem. The problem was widespread in Escambia County (which had space for

too few digits for case numbers in the online database), but we also found

examples of these case number discrepancies in Nassau, Osceola, Duval, Pinellas,

and Polk counties. We also found at least one individual in Pinellas County where


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the FDLE year of birth did not match that listed in the county clerk’s database,

which made it difficult to look up this person’s LFOs initially. Information about

relatively older cases was available only sporadically in some counties. We could

not find any information for cases, or could only find sporadic information for

cases, online before the 1990s or early 2000s in Jackson, DeSoto, and Hillsborough

counties. In other counties, such as Broward, Polk, Gadsden, and Escambia, such

cases are available online but are sometimes missing information about LFOs. As

I will show below, the lack of information, or incorrect information, for older cases

caused many of the discrepancies between the FDLE information and clerk data

that we were able to find.

      There are several other barriers to getting access to the online data. On their

initial page, Leon County appears to require a full application, a notarized letter,

and a submission to get access to case documents. Researchers looking up cases in

Duval and Marion counties had to sign up for an account to access even their

public data. As shown in Figure 2 below, we could find evidence that at least ten

counties (such as Holmes, Okaloosa, Gulf, Dixie, Columbia, Broward, Hamilton,

Flagler, Calhoun and Pinellas) charge fees to access case records online (or to

request additional information when it is not shown online, a common problem for

relatively older cases). For instance, in Dixie County, the “Records Search: Court

and Official” button on the home page links to myfloridacounty.com, a pay site


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(but confusingly, their dropdown menu to search court records goes to their “free”

court records site).24 Sometimes, relatively older cases are not available online, but

only in paper. Counties charge to fill these records requests. For instance, Gulf

County charges $1 per page and $2 per certified document, $.75 for shipping, and a

$3.50 service fee to access case records (and there is a $7.25 minimum). We were

told to request several cases from Pinellas County, where it costs $1.00 per page

($2.00 per page for certified copies) plus a 3.5% processing fee to mail official

records—and there still is no guarantee that these documents will have information

about LFOs. We had to request specific case records from Holmes County at a

cost of $3.00 per page. We were told by the clerk’s office that looking up interest

on liens in Alachua County costs $7 per lien (for the cases we were researching,

we could only figure out the initial assessed amount if we knew the interest rate).25

Overall, there were 13 cases where clerk staff had no information about a case

because the cases were too old, and, as mentioned previously, some noted that they

would need to do further research to answer questions about those older cases.




24
        See https://dixieclerk.com, which links to
https://www3.myfloridacounty.com/official_records/index.html. Last accessed
2/26/2020. Screenshots on file with author.
25
        The clerk’s office had the total due and needed to know the interest rate. It was
unclear why they needed the interest rate, perhaps to figure out the initial amount. But
either way, it would cost $7.00 to look up the lien to get that interest rate.
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      Many online databases were poorly designed and confusing. For instance,

several researchers had trouble looking up information using the Hillsborough

County website; one researcher took 26 minutes to find the correct place to start

her case searches on that county website. In Osceola County, the website is not

clear that records for felony cases can be found by searching “Court Records,” not

“Official Records.” I found several sites that did not have a search function to

allow a user to quickly jump to relevant information (Baker, Nassau, and

Okeechobee counties). The Calhoun County site crashed twice when we were

trying to look up payment information. The Osceola County site search function

did not work when we tried to access it in late December 2019.

      We noticed other design flaws that made the online databases difficult to

use. Often, the records searches contained no help menu or key for interpreting the

returned records. These features would have been helpful for understanding

abbreviations. There were many Latin legal terms and court processes in the

records that would be unfamiliar to lay people. There is no consistency in what is

included in the “amount due” and other aggregations. For example, sometimes

collections fees or interest are included in a county’s “assessed amount”

calculations and sometimes they are not. I will discuss this phenomenon more

fully in the sections that follow.




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                               Fees to Verify and Pay Legal Debt



           Payment or Processing Fees




                Access Records Online




                                    0.0%   10.0%   20.0%   30.0%   40.0%   50.0%   60.0%   70.0%


Figure 2: Counties that Impose Fees to Verify and Pay Legal Debt. Data from
initial calls to all 67 Florida counties.
             C.        Problems Determining the Payment Due to Satisfy the
                       Requirements of SB7066

      To reiterate, SB7066 provides that only outstanding LFOs imposed at

sentencing for felony convictions would prevent eligibility for voter registration.

See Fla. Stat. §98.0751(2)(a). The statute further clarifies that fines, interest, late

charges, and other debt incurred after the sentence should not disqualify a potential

voter. See Fla. Stat. §98.0751(2)(a)(5.)(c.). Election Supervisors may check with

several sources, including “a clerk of the circuit court, the Board of Executive

Clemency, the Department of Corrections, the Department of Law Enforcement, or




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a United States Attorney’s Office,” to verify whether a person seeking to vote still

owes LFOs. Fla. Stat. § 98.075(5).

      A serious problem facing people who may have LFOs is the inability of state

agencies to provide them with clear and consistent information about the amount

that they would need to pay to satisfy SB7066’s LFO requirement. As discussed in

the previous sections, my research team and I examined LFOs incurred for 760

felony cases for 153 individuals using FDLE reports, clerk of the county circuit

court online court records, and phone calls to the clerks of the court offices, all of

which Florida identifies as sources election Supervisors may consult when

determining voter eligibility. Where possible, we recorded the initial amount

assessed at sentencing for court costs, fines, fees, and restitution, any information

on payments made, and, where available, the amount due on the assessed amounts

and the total amount due. We encountered three problems. First, because of

discrepancies within and across sources or a lack of information, we often were not

able to determine definitively the initially assessed LFO amount. Second,

information about the payments made was sometimes unavailable or incorrect.

Third, as a result of these and other issues, we often were not able to separate what

was still due on LFOs imposed at sentencing from what was due on other fees

imposed afterwards, making it impossible to discern the amount that needed to be




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paid from “the four corners of the sentencing document.” I consider each issue in

more detail below.

                     1.      Inability to Discern Initial Assessed Amounts

      In my opinion, it is frequently not possible to definitively determine the

LFOs assessed at sentencing using FDLE reports, clerks of courts online databases,

or phone calls to the clerks of courts. As I will show, in some cases, the initial

LFO amount is not available through these sources. In other cases, I will show that

when information about initial LFO amounts is provided, that information often

conflicts with that provided by the other sources. As a result, an individual who

relies on one of these sources to determine their LFOs may get different

information from that provided to election Supervisors, leading to consequences

like people declining to register to vote, the purging of voters from the rolls, or

initiation of a criminal investigation if they have registered and/or voted in error.

The fact that relying on these sources to determine and pay LFOs is no guarantee

against adverse consequences could have a chilling effect on registration and

voting. Put another way, the lack of reliability and contradictions in the data, in

my opinion, will likely have a chilling effect on registration and voting. For the

153 individuals we researched, we were not able to verify consistency in the

information across all three sources for 150 (98.04%) of them. The 95%




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confidence interval for this estimate ranges from 94.61% to 99.55%.26 If the true

error rate among the population in the counties we studied fell above or below this

range, the probability of us getting the estimated error rate that we got from our

random sample of that population purely by chance is less than 5%.

        When comparing the FDLE reports to the clerks’ online databases, the LFO

assessments provided by the two sources are frequently not consistent with one

another and it is unclear which is correct. We found that of the 153 individuals

whose records we researched, the information was consistent between the county

clerk online databases and the FDLE reports in all cases for only five individuals

(3.27%). This means that for 96.73% of the people in our sample, the FDLE and

the clerk databases provided inconsistent information for some or all of their

felony cases. At the case level, of the 760 felony cases we examined across those

153 people, only 156 were consistent across the FDLE and clerk online databases

(20.53%). We found discrepancies in 79.47% of cases, with a 95% confidence

interval of 76.61% to 82.36%.

        As Figure 3 below shows, we found four reasons for the discrepancies. The

most common problem is that the FDLE had a different amount for the initial

assessment than the clerk website, a problem we found in 281 of 760 cases


26
      This and other confidence intervals calculated using R package “binom” by
Sundar Dorai-Raj.

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(36.97%).27 We counted only differences greater than 10% of the assessment as

“discrepancies,” which means these discrepancies were not trivial amounts. More

troubling is that we found that cases sometimes appeared in one source but not the

other. We found 146 cases that were in the FDLE report that we could not find on

the clerk website (19.21%). We found an additional 108 cases that were in the

clerk online databases but not in the FDLE report (14.21%). Finally, we found 70

cases where the clerk had the case online, but the financial information was

missing (9.21%).




27
        One likely explanation for some of these errors is that what clerks listed as
“assessed amounts” often included hidden fees or other charges incurred after sentencing.
Often, there was no other information on the website that would enable one to determine
the initial assessment.
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                   Case Outcomes: Comparing FDLE
                    Reports to Clerks' Online Data
                         (% of Cases, N=760)


                         21%    14%                      Online but Not FDLE
                                                         In FDLE Not Online
                                      19%                Clerk has case but no info
                                                         FDLE ≠ Online
                         37%       9%                    OK




Figure 3: Outcomes from researching cases through FDLE reports and clerks’
online databases. N=760. The chart presents results from comparing initial
assessed amounts listed in FDLE reports with those listed in county clerks’ online
data. The category “Online but Not FDLE” refers to cases that were in the clerks’
database but not listed in the FDLE report; “In FDLE Not Online” refers to cases
that were in the FDLE report but could not be found in clerks’ database; “Clerk
has case but no info” refers to cases in which clerks found a record but the record
did not have LFO information; “FDLE ≠ Online” refers to cases in which the
assessed amount listed in the FDLE does not match clerks’ data; and “OK” refers
to cases in which there are no discrepancies between the FDLE and clerks’ online
data.
      We also found discrepancies between the information the clerks’ staff

provided over the phone and the information from the clerks’ online databases. As

shown in Figure 4 below, in 518 or 76.51% of our cases, we were unable to verify




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information we found in the FDLE report or website over the phone.28 We found

an additional 47 cases (6.94%) in which the assessed amount or other information

provided over the phone did not agree with the online amounts. We found another

38 cases (5.61%) that were in the FDLE report or on the clerk website that the

clerks’ staff could not find over the phone. We found 14 cases that the clerk found

on the phone that we could not find online or in the FDLE report (2.07%). There

were 13 cases where the clerk could find a case but had no information about LFOs

due, as discussed in the previous section (1.94%). The biggest problem with

getting case information over the phone, as noted in the previous section, is that in

many of our cases, clerks’ staff either refused to look up cases we requested (235

cases or 34.71%) or we could not get through over the phone (171 cases or

25.26%). In total, we could not verify the clerks’ databases against their phone

responses in 76.51% of cases. The 95% confidence interval for this estimate

ranges from 73.19% to 79.60%.




28
       As of the date of this report, we have called and have not yet obtained data for 83
cases. We have data for 677 cases and thus use that number as the denominator when
calculating percentages for call discrepancies.
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                Case Outcomes: Comparing Clerk Staff
                      Responses to Online Data
                        (% of Cases, N=677)



                                                         OK
                         25%         23%                 Not found by clerk
                                                         Found by clerk not online
                                                         Clerk Phone ≠ Clerk Web
                    2%                  6%
                                       2%                No help over the phone
                                      7%                 Clerk has no info on case
                               35%                       Calls not answered




Figure 4: Outcomes from researching cases online and through phone calls to
clerks’ offices. N=677 cases. The chart presents the results of comparing amounts
due recorded in clerks’ online databases with those reported by clerks over the
phone. “OK” refers to cases in which we were able to confirm the online data
over the phone; “Not found by clerk” refers to cases that were online but not found
by the clerk over the phone; “Found by clerk not online” refers to cases that were
mentioned by clerks over the phone but missing in online databases; “Clerk Phone
≠ Clerk Web” refers to cases in which the amounts reported by clerks over the
phone did not agree with what was reported in clerks’ online data; “No help over
the phone” refers to cases we could not research because clerks refused to help,
due to policy, too many cases, et cetera; “Clerk has no info on case” refers to
cases in which the clerk could find a case on the phone but did not have info on
LFOs; and “Calls not answered” refers to cases we could not research because we
were not able to get through to clerks’ offices after repeated attempts.



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      The discrepancies stemmed from several problems with the data. First, data

quality issues abound: we found several examples of conflicting and inaccurate

information about initial assessed amounts in the clerk records. Across counties,

clerks inconsistently included post-sentencing fines and fees (such as interest or

collections fees) in their aggregations of the initial assessed amounts, such that

different counties’ total due calculations relate differently to the amount assessed

in the “four corners of the sentencing document.” Also, in many counties, the

aggregated amounts calculated on these websites sometimes contain information

about post-sentence fines and fees and are not accurate representations of what is

due on the fines imposed at sentencing. For example, Figures 5 and 6 below show

two cases for an individual, who was convicted of felonies in Pinellas County.

Examining these two cases, the first of which is in collections, shows how fines

and fees are recorded in the “Total Financial Assessment” calculated by the

Pinellas clerk of court database. In Figure 5, we see that the “Total Financial

Assessment” is listed as $772.20 in case number “AAA” [the actual case number,

as with cases “BBB” through “JJJ” infra, has been redacted; in each instance, the

originals are on file with report author]. However, closer examination reveals that

the amount assessed at sentencing was only $468. The remaining $304.20 reflects

collections fees, some of which were recalled (listed as “Payments and Credits”).

In contrast, Figure 6 shows that for that same individual in Pinellas County, in


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case “AAA”, the “Total Financial Assessment” is $800 and includes only the

amount assessed at sentencing.




Figure 5 Snapshot of case “AAA”, redacted, excerpted and enlarged to show
amount assessed at sentencing, collections referral, balance due, and payments.
Balance due reflects $468 assessed at sentencing plus an additional 25%. Entire
record from Pinellas County online database available in Appendix.




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Figure 6 Snapshot of case “AAA, excerpted and enlarged to show amount
assessed at sentencing, balance due, and payments. Entire record from Pinellas
County online database available in Appendix.
      Similarly, Hernando County treats the “Assessed Amount” inconsistently—

the collections fee is included in the total online in case number “BBB” (Figure 7)

(below), but not in case number “BBB” (Figure 8) (below). As a result of these
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differences in what is included in balance calculations on-line, it is difficult to

determine a rule across counties and sometimes within counties for how closely

their total due tracks the remaining balance on fines and fees assessed in the “four

corners of the sentencing document.”




Figure 7 Snapshot of case “BBB”. The defendant was assessed two $40 public
defender fees on 1/21/1999 and 3/1/2005. The $79.77 remaining debt (after a $.23
payment) was sent to collections and was assessed a 30% collections fee, or
$23.93. The total assessed amount and balance due are sums of the public
defender and collections fees, less the $.23 payment. Entire record from Hernando
County online database available in Appendix.

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Figure 8 Snapshot of case “BBB”, excerpted and enlarged to show collection
agency fee, balance due, and payments. The defendant was assessed $708 in
“Felony W/H or PTI” and a $100 public defender lien on 6/15/2006 in addition to
two $40 public defender fees on 5/15/2006 and 8/1/2006 for a total of $888, which
is reflected in the financial summary. However, the collection agency fee is not
added to the assessment or the balance due. Entire record from Hernando County
online database available in Appendix.
      We have other indications of data issues from the clerks’ staff. For example,

when we called Martin County to look up information about case number “CCC”,

the person on the phone noticed that the restitution assessment was not in the

online records and updated their database on the spot to reflect an additional

$6,000 in debt. Similarly, when we called Alachua County to research LFOs for

an individual, the clerk said that the “online numbers are probably wrong” and that

she would research them with her supervisor and call us back (she found missing
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payments; that update is discussed below). The clerk in Alachua County also

noted that she could not see everything for “older” cases, so she was not even sure

about some of the totals she gave us for cases “DDD” and “EEE” and would call

us back after she researched them further.

      Clerks’ staff repeatedly noted difficulties with “older” cases, which pose

problems for the clerk databases. Cases from before 2005 were more likely to be

missing from the clerk databases, and, as mentioned previously, we had several

instances in which staff said that cases were too old to be in their system. Older

cases were not available over the phone and needed to be requested in writing,

often for a fee in those 13 cases where clerks had no information over the phone.

Altogether, however, the error rate did not differ significantly depending on the

age of the case because newer cases had different types of errors (see Table in the

Appendix for more information).

      Because of these discrepancies across sources and the inconsistencies within

sources, sentencing documents, which we did not pull, may be a better source for

determining the amount assessed at sentencing. However, in some counties as

noted above, these documents can only be obtained via written request, and for a

fee. These fees may become expensive, as counties charge per page to send these

documents, and persons with multiple convictions would have to purchase multiple

sets of sentencing documents. Most importantly, sentencing documents do not


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have information about payments that have been made and how those payments

are applied, which, as I shall discuss in the next section, also pose problems for

calculating the amount still due on the initial assessment.

                   2.      Problems Determining How Much Was Paid on a Case

      To know how much remains due on LFOs assessed at sentencing, we need

some information about the payments made on the debt. Only the clerks of court,

and in some cases debt collection agencies, can provide this information; if it is not

in the initial sentencing document or the FDLE report. Unfortunately, however,

the data quality issues that pervade the initial assessed amounts are even worse

when it comes to payment data.

      We found several examples of cases in which the listed payments do not add

up to the payment totals listed. One typical example can be found in Pinellas,

again looking at an individual’s case identified as “AAA” in Figure 6, previously

referenced above. The clerk’s aggregated “Total Payments and Credits” column

lists $303.07 paid on this case and a balance due of $496.93. But looking more

closely at the record, we found $471.76 had been paid if we include all the partial

payments on the case. It is unclear why only the $250 in counter payments and the

$53.07 partial payment were included in the payment total aggregated by the clerk.

We had difficulties calculating payments in at least five additional cases in Pinellas

County. We also found discrepancies in Duval County, where clerks said money

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was still owed on cases that the website said had been paid in full (cases “FFF” and

“GGG”). We found payment discrepancies in Marion County as well (case

“HHH”). Sometimes payments had been made, but were not recorded online. We

found this issue with six cases in Leon County. Regarding an individual’s cases

that the Alachua clerk flagged for us as potentially inaccurate referenced above, the

clerk’s office called us back and told us about additional payments made on two of

the cases that were not reflected in the online data.

      Finally, we also had questions about whether clerks gave full information

about payments made through collections agencies. For instance, in the example

from Hernando County shown in Figure 8 above, we can see that the clerk applied

a payment of $76.92 received on the case from the collection agency. But,

according to their website, Hernando County charges a 30% fee on debts in

collections. Did the collection agency take its 30% fee off the top before

forwarding that payment to the clerk? If so, then the person may have paid $100

($76.92 to the clerk and $23.08, which is 30% of $76.92, to the collections

agency).

                    3.      Problems Determining How Payments are Applied

      To try to figure out what is still owed on amounts assessed “in the four

corners of the sentencing document,” under SB7066, it is also necessary to know

how payments are applied—that is, how much of each payment goes toward

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paying down the initial debt rather than to fees or interest. I found a few examples

where this math was clear. In Hernando County, for instance, the record for case

“BBB” from Figure 8 above clearly indicates that $40 of the $76.92 payment

satisfied the public defender fee and the remainder was applied to the $708 felony

assessment so that the remaining balance on that fee was $671.08. (However, as

noted above, it is not clear whether an additional amount was paid to the collection

agency). Pinellas County, for its faults that I noted, also sometimes attempts to

link payments to particular assessed amounts; the records in the individual’s case

(“AAA”) from Figure 6 above show that his payments were applied to his public

defender and prosecution fees; however, there are some payments that are not

counted in the total amount paid and that are not earmarked to particular debts. For

most cases in which partial payments, but not full payments, have been made, it is

not possible to figure out how much of the remaining debt is for the amount

assessed in the “four corners of the sentencing document” rather than post-

sentencing fines and fees. In some cases, clerks over the phone could not

differentiate outstanding balances based on whether they were assessed at

sentencing or after. In 25 (of the 677) cases (3.69%), the clerks’ staff could not

give us an initial assessed amount and just provided the total still due.29 Often,



29
       For instance, for case “III”, the clerk could only tell us the total amount due, which
included interest, but could not tell us the initial amount or the interest rate.
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information online also was insufficient to disaggregate the remaining originally

assessed amount (after payments) from later-applied charges. I have already noted

examples in Pinellas and Hernando counties where the assessed amounts includes

collections fees inconsistently; sometimes we were unable to figure out whether an

assessed amount matched what was in the sentencing document or included

additional fees. The online data often did not indicate how much these post-

sentence fees were or even that they were imposed. Going back to the above-

mentioned case involving the individual in Alachua County, the clerk told us about

10 liens based on that individuals’ cases but would charge $7 per lien to look up

the amount of interest that was being added to the cases. For these cases, we could

not determine the remaining amount due on the amount initially assessed at

sentencing without paying the lookup fee to find out the amount of interest that

was being added.

      In sum, based on our experiences with comparing information on LFOs that

we gathered from clerks’ staff, clerks’ databases, and FDLE reports, I conclude

that the State of Florida cannot provide consistent information about what an

individual owes on the amounts initially assessed at sentencing. Moreover,

acquiring any information about LFOs is burdensome in terms of time and money,

and requires substantial skill, time, and practice to decipher court records and

FDLE reports. We found numerous discrepancies and inconsistencies both within


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and across sources. We also encountered problems accessing clerk staff over the

phone and finding cases online and in the FDLE reports. These problems affected

150 of 153, or 98%, of the people in our random sample. Put another way, for 150

of 153 in our random sample, we were ultimately unable to verify how much was

owed of the outstanding disqualifying LFOs imposed at sentencing.

             D.     Prohibitions and Other Logistical Barriers to Partial
                    Payments.

      Before registering to vote and voting, SB7066 requires that citizens—who

are no longer supervised in prison, on probation, or on parole for felonies—must

satisfy the amount assessed “in the four corners of the sentencing document” and

the law explicitly excludes “any fines, fees, or costs that accrue after the date the

obligation is ordered as a part of the sentence.” However, as noted in the

summary, the state and county policies that govern partial payments may make it

impossible for people who owe LFOs due to felony convictions to avoid paying

interest, collection agency fees, convenience fees, and other debt imposed after

sentencing before they can complete payment of the full four-corners amount.

      We were able to determine that 51 of the 153 individuals in the study

(33.33%) had at least one case that, according to the county clerk or their website,

was in collections. Florida Statute §28.246 allows counties to turn over LFOs to

debt collectors after 90 days past due. These agencies may add fees of up to 40%


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of the total amount due as payment for collecting the fee. Table 1 below provides

all the information I was able to find about the collection agency fees charged in

each county. Eight counties—including Gulf, Miami-Dade, Duval, Martin (before

12/2015), Polk, Leon, St. Lucie, and Volusia—charge the full 40% fee on debts in

collections. An additional twelve counties—Orange, Broward, Brevard, Martin

(after 12/2015), Escambia, Sarasota, Clay, Seminole, Marion, Collier, Pinellas, and

Hernando—charge fees ranging from 20 to 35% of the total for debts sent to

collection agencies. This additional 20-40% fee might take people by surprise

because the court clerks’ offices provide very little information on clerks’ websites

or in their online databases about the collections fee. In our searches, we could see

that counties inconsistently included the collections agency fee in the total amount

due, or made note of the existence and amount of collections fees only

occasionally, if at all on their websites. Miami-Dade and Collier counties

indicated elsewhere on their website that the total amount due from their databases

did not include collections agency fees, but most counties did not provide

additional information about the collections agency fees or indicate that defendants

would have to submit a large additional sum to satisfy their court-ordered debt.




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Table 1: Collections Fees by County. Data obtained from clerk online databases.



      40%: Gulf, Leon, Miami-Dade, Martin (before 12/2015), Polk, St.
      Lucie, Duval, and Volusia
      25-35%: Orange, Broward, Brevard, Martin (after 12/2015),
      Escambia, Sarasota, Clay, Seminole, Collier, Hernando, Pinellas
      20%: Marion
      Unknown: Hendry, Highlands, Hillsborough, Holmes, Indian River,
      Jackson, Jefferson, Monroe, Nassau, Okaloosa, Okeechobe, Wakulla,
      Citrus, Columbia, Desoto, Dixie, Flagler, Franklin, Gadsden,
      Gilchrist, Glades, Hamilton, Hardee, Alachua, Baker, Bay, Bradford,
      Calhoun, Charlotte, Washington, Walton, Santa Rosa, Sumter,
      Suwannee, Taylor, Union, Lafayette, Lake, Lee, Levy, Liberty,
      Madison, Manatee, St. John, Pasco, Palm Beach, Osceola, Putnam


      Orange County is quite typical. When we called to inquire about ways to

pay legal debt, we were told by the court clerk’s office that the collections fee was

25% plus a $25 payment fee for cases turned over to collections. According to

Orange County’s website, all cases not paid in full within 90 days in the absence of

a payment plan, or cases with payment plans that are more than 90 days past due,

get turned over to collections agencies and will be assessed 25% plus $25 to pay on

top of the court-ordered amount.

      A relatively common practice, cited below, prevents clerks from accepting

partial payments or any payments on debts after they have been sent to collection

agencies. I was able to find language on online databases in at least five


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counties—Brevard, Miami-Dade, Lee, Okaloosa, and Palm Beach—that stated that

clerks would refuse to accept payment on debts in collections from anyone who

attempts to pay just an assessed amount without including the additional

collections and other fees. A typical example can be found on the Miami-Dade

County website, which states, “If your case has been assigned to a collection

agency, the Clerk’s Office will be able to accept full payment of your outstanding

financial obligation. You can contact the collection agency assigned to your

case(s) directly to make partial payments as well as full payments”

(http://www.miami-dadeclerk.com/courts_criminal_collections.asp. Last accessed

2/26/2020. Screenshot on file with report author.). Similarly, Okaloosa County

directs that people with debts in collections “must either pay the balance in full or

call Penn Credit to make arrangements to resolve the balance due”

(http://www.okaloosaclerk.com/index.php/court-services/198-payments-plans.

Last accessed 2/26/2020. Screenshot on file with report author.). I do not have

information about the policy of the collection agencies with respect to allocating

partial payments toward assessments, collections fees, or other costs. Some

counties may have rules that add contingency fees to all partial payments: for

instance, Brevard County does allow partial payments, but their website notes

explicitly that “[p]artial payments are only accepted in amounts of $100 or greater

plus the collection agency fee unless the account balance is less than $100”


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(http://www.brevardclerk.us/pay-collection-agency-debt-directly-to-clerk. Last

accessed 2/26/2020. Screenshot on file with report author.) Other counties may

enforce similar policies although I could not find such information on their online

databases.

      In practice, these policies can dramatically increase the amount a person

with a felony conviction needs to pay to vote. In our data, an individual has debt

from case “JJJ” that has been sent to a collections agency in Brevard County. The

clerk reports an outstanding balance of $807. Based on the above policy, which

requires all payments to include the 25% collections fee, this individual would

need to pay at least $201.75 in additional fees to pay off this $807 debt to Brevard

County (assuming there are no other fees or penalties).

      In at least seven other counties, clerks do not accept payments on debts in

collections at all; the payments must go through collection agencies and thus are

subject to the partial payment policies of the agency. I found language to this

effect on the online databases of Collier, Hernando, Manatee, Orange, St. Lucie,

St. Johns, and Seminole counties, but others may enforce similar policies without

explicitly mentioning them online. For instance, the Collier County website says

that for debts in collections, “you must add an additional 32% service charge. You

must also pay all collections agency payments directly to the Collections Agency”

(https://apps.collierclerk.com/court-divisions/criminal/collection-agency-payments.


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Last accessed 2/26/2020. Screenshot on file with author). Likewise, according to

the Orange County Clerk website, “Once an account is turned over to a collection

agency, all payments must be made through that collection agency”

(https://www.myorangeclerk.com/Divisions/Criminal/Collections-Court, Last

accessed 2/26/2020. Screenshot on file with author.). I noted previously regarding

the Hernando County case in Figure 8 above that I was not able to determine from

the record whether the collections agency took its fee before sending the payment

to the county clerk. In these instances, I do not have information on collection

agency payment policies and further research is needed to determine whether

collection agencies will allocate payments to just amounts assessed in the “four

corners of the sentencing document” or whether they take a portion of all monies

collected as their fee. In Seminole County, it appears that payments to the

agencies must include the 25% fee as they provide, “Fines and fees referred to a

Collection Agency must be paid directly to the Agency listed in the notice you

received. Payment must include the Collection Agency’s 25% contingency fee”

(https://www.seminoleclerk.org/collection-agencies/. Last accessed 2/26/2020.

Screenshot available upon request.).30


30
       It is worth noting that all counties participate in “Operation Green Light,” which is
a one-day amnesty program for paying LFOs. Operation Green Light waives collection
agency fees for debts in collections, but only for debts that are paid in full, including late
fees and other charges. However, Operation Green Light does not allow a person to

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      Other policies at the local and state levels still prevent individuals from

being able to pay just the costs from “the four corners of the sentencing document”

even for debts that are not in collections. First, some counties, such as Lee,

Osceola, and St. Lucie, explicitly prohibit partial payments unless the individual is

enrolled in a payment plan, so that individuals who are not in a payment plan

cannot direct payments just to the assessed amount. For example, Osceola

County’s Ncourt payment portal states, “You may make a partial payment using a

payment plan only if the court has approved and assigned you a plan with a

beginning balance and a specified monthly payment amount”

(https://www.ncourt.com/x-pressV3_2/juris/fl/flosceola/Landing_Osceola.aspx.

Last accessed 2/26/2020. Screenshot available upon request.).

      Second, even when county clerks do accept partial payments, in accordance

with Florida Statute §28.246, counties charge fees for processing payments on a

per case basis. Partial payment fees typically are charged either $5 per payment or

a one-time $25 fee. I was able to find explicit mention of these fees on the online

databases of Clay, Citrus, Brevard, Santa Rosa, Seminole, Escambia, and Lee

counties. Most policies are similar to Santa Rosa County’s policy, which states,



avoid paying all post-sentence fees and interest. Some counties (Pinellas is an example)
do allow people with outstanding LFOs to enter into payment plans on amnesty days, but
entering the payment plan incurs a $25 fee per case. It also is worth considering the
timing of this amnesty day relative to voter registration deadlines. The last event was in
October 2019.
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“Partial payments are accepted w/a fee; $5 per payment or one time $25 fee”

(http://www.santarosaclerk.com/court_info.html. Last accessed 2/26/2020.

Screenshot available upon request.). These fees accrue on top of other payment or

processing fees such as Polk County’s $14 satisfaction fee or Miami-Dade

County’s $25 payment fee that are added to all payments. Counties also charge

convenience fees, especially for credit card payments. We were able to verify

these payment charges and fees for about 27 of the 67 counties (40.3%). The usual

fee is 3% or 3.5% of the payment amount for online and/or phone credit card

payments or , in some counties, a flat fee. Collier County charges $5 to pay online.

Seminole County charges credit card payment fees ranging from 3.5% in-person to

6% over the phone. These fees are important—if an individual were to pay only

the amount initially assessed in the “four corners of the sentencing document,”

some of their payment may be directed toward these payment fees, leaving an

outstanding balance on the debt that was initially assessed.

      Third, as previously mentioned, under SB7066, the Florida Legislature

limited the LFOs relevant for voter eligibility to “victim restitution and fines and

fees ordered as part of the sentence” and provided that they “do not include fines,

fees, interest, or other penalties that accrued after the sentence.” However, based

on my understanding, Florida Statute §28.246 allocates partial payments across

fees, service charges, court costs, and fines owed to different government entities


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on a pro-rated basis. Several county clerks reference Florida Statute §§28.246 and

28.24(26) at various points on their online databases, especially with respect to

partial payment plans and fees as I noted above (See

https://www.lakecountyclerk.org/courts/payment_plans.aspx. and

https://www.citrusclerk.org/242/Payment-Plan for typical examples. Last accessed

2/26/2020.)

      Subsection 5 of Florida Statute §28.246 reads as follows:

              (5)   When receiving partial payment of fees, service charges, court

              costs, and fines, clerks shall distribute funds according to the

              following order of priority:

              (a)   That portion of fees, service charges, court costs, and fines to be

              remitted to the state for deposit into the General Revenue Fund.

              (b)   That portion of fees, service charges, court costs, and fines

              required to be retained by the clerk of the court or deposited into the

              Clerks of the Court Trust Fund within the Department of Revenue.

              (c)   That portion of fees, service charges, court costs, and fines

              payable to state trust funds, allocated on a pro rata basis among the

              various authorized funds if the total collection amount is insufficient

              to fully fund all such funds as provided by law.




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              (d)   That portion of fees, service charges, court costs, and fines

              payable to counties, municipalities, or other local entities, allocated on

              a pro rata basis among the various authorized recipients if the total

              collection amount is insufficient to fully fund all such recipients as

              provided by law.

        It is worth researching further whether, in practice, clerks allocate payments

on a pro rata bases among the various authorized recipients in line with the

requirements listed above, as well as whether this policy can be construed to allow

payments of just fines and fees imposed at sentencing.

        Further evidence supports my contention that clerks are not set up to apply

payments only to amounts assessed in the “four corners of the sentencing

document.” As part of the initial calls to all 67 county clerks’ offices, we asked the

clerks’ office staff whether it would be possible to direct payments just to satisfy

originally assessed amounts rather than fees or other charges. Staff in 8 counties—

Clay, Gilchrist, Gulf, Hardee, Charlotte, Bradford, Walton, and Lake—said this

was not possible. Staff in 33 other counties said they did not know if it was

possible to direct payments to satisfy originally assessed amounts.31 Only 8




31
  Hendry, Hernando, Highlands, Madison, Martin, Miami-Dade, Monroe, Nassau, Okaloosa,
Okeechobee, Wakulla, Citrus, Collier, Columbia, DeSoto, Dixie, Duval, Escambia, Flagler,
Franklin, Glades, Hamilton, Alachua, Baker, Bay, Brevard, Broward, Calhoun, Washington,
Leon, Levy, Madison, and Manatee.
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counties indicated that it may be possible to pay just the assessed amounts in some

circumstances (Hillsborough, Holmes, Indian River, Jackson, Jefferson, Lafayette,

Lee, and Liberty).

      To summarize these findings, several policies at the county and state levels

combine to make paying just the amounts “assessed in the four corners of the

sentencing document” for a felony conviction impossible for many people. County

clerks and collection agencies require the payment of collections agency fees

ranging from 20-40% of the amount due and charge satisfaction fees, payment

fees, partial payment fees, and convenience fees to accept payments. Often,

counties are not able to direct payments toward fees “assessed in the four corners

of the sentencing document” rather than late fees, interest, or other penalties.

Clerks’ office staff made this point explicitly to the research team in eight counties

over the phone, and other counties may have similar policies. As a result of the

county-level policies, based on language that I could find on their online databases

or through calls to their offices, some or all individuals in at least the following 25

counties would be forced to pay more than just the amount assessed in the four

corners of the sentencing document to satisfy the requirements of SB7066,

especially if their payments were more than 90 days past due: Clay, Gilchrist, Gulf,

Hardee, Charlotte, Bradford, Walton, Lake, Polk, Collier, Miami-Dade, Santa




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Rosa, Seminole, Escambia, Brevard, Citrus, Lee, Osceola, St. Lucie, Orange,

Hernando, Manatee, St. Johns, Okaloosa, and Palm Beach.

      VI.    Conclusion

      For the reasons I set out above, I conclude that researching the amount owed

for LFOs in Florida is a time consuming, expensive, and burdensome endeavor

and, notwithstanding, still may lead to inconclusive answers and inconsistent

information about the amount of LFOs owed. In this report, I provide numerous

examples of the difficulties that we encountered when trying to research LFOs for

a random sample of 153 individuals across 760 cases, including: an inability to get

through to clerks’ offices even after multiple calls; long wait times in seeking to

contact clerks’ offices; website issues including glitches and incomplete or missing

information; and clerks who refused to help us or, when they did, lacked complete

information. As I have shown, sometimes cases required written requests or

additional payments to get information. I have provided abundant evidence that

court records may be confusing even to researchers with advanced degrees because

the records can provide contradictory or incomplete information.

      I also conclude that expending the effort to research LFOs through the

sources listed in SB7066 is unlikely to provide reliable information about the LFOs

an individual would need to pay to satisfy the debts imposed “in the four corners of

the sentencing document.” I have documented widespread discrepancies between


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the FDLE reports and the clerks’ online databases, and even between the clerks’

online databases and their own staff’s information. We were unable to match the

FDLE records to the clerks’ online data for 96.73% of our 153 sampled

individuals. We found discrepancies between the clerks’ online data and their

responses over the phone for 16.54% of the 677 cases we attempted to call and

could not verify the online information due to unanswered phone calls or clerks’

refusal to help us in an additional 59.99% of cases. We found payments that did

not add up and missing cases. Sometimes, even the clerks’ staff questioned the

reliability of their own data, such as in Alachua County when a clerk thought the

records needed additional research. Clerks staff also complained about lack of

time to complete these requests, such as the Miami-Dade Deputy Clerk who said

they were “understaffed.”

      Finally, despite language in SB 7066 that excludes debt imposed after

sentencing such as interest or late fees, I found evidence that in many counties, it is

nearly impossible to pay only debts imposed at sentencing due to policies

governing partial payments, payment fees, and collection fees. I highlighted

several counties that do not accept partial payments on certain debts. I discussed

how other counties impose payment fees and collections fees and will direct

portions of payments to those other obligations. Eight counties told us over the

phone that they could not direct payments just to pay down initial imposed


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amounts. As a result, I was able to identify at least 25 counties with policies that

could require at least some of the people trying to pay LFOs to pay more than just

the amount assessed in the “four corners of the sentencing document” to satisfy

their obligation under SB7066.




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      I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge, information, and belief.

      I reserve the right to continue to supplement my declarations in light of

additional facts, testimony, and/or materials that may come to light.

      Executed this March 2, 2020, at Cook County, Illinois.




                                       Traci R. Burch, Ph.D.




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                                    APPENDIX


LFO Lookup Call Script for Cases for Specific Individuals
Call the county court clerk in the conviction county for the case(s) for the
individuals listed in the FDLE to request the following:
“Hi, I’m calling to find out how much someone owes for felony convictions. I
want to know how much was originally assessed in fines and fees or restitution and
whether they’ve been paid.” Make sure it’s clear that you’re only interested in
FELONY convictions.
IF THEY ASK YOU WHO YOU ARE, SAY “I’m a student doing some research
on fines and fees.” If they say they can’t release information to you say, “Yes you
can, this is a matter of public record.”
If they give you totals, ask, “Can you please break down these totals for me?” and
then use the following prompts:
--“Is that just for the assessed amount?”
--“How much was it originally?”
--“Was there any victim restitution?”
--IF YES: “Have they paid any of that?”
--“Have any payments been made?”
--IF YES: “What’s the total of the payments?”
--“Can you tell me anything about late fees or interest or other things that would
also need to be paid?”
--“Is it in collections?”
IF they ask for an email follow up to look up all this information, make a note and
send the email. Consult with me if you need help writing it.
Also, record the time of the phone call and any other notes about holds, unusual
information as noted in the excel sheet using the worksheet below.
Thank them for their time.



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LFO Lookup Call Worksheet
Case Number/individuals
(s)____________________________________________________________
Call Time Start___________________ Call Time End ______________________
On hold for _______________________
Number of calls ______________________________________
Date of successful contact_______________________________________
Told student researcher?___________________________
Case 1                                    Email sent?
______________________________            ______________________________
Initial Assessed                          Received data
______________________________            ______________________________
Assessed Amt Due                          Case2
______________________________            ______________________________
Victim Rest Initial                       Initial Assessed
______________________________            ______________________________
Victim Rest Due                           Assessed Amt Due
______________________________            ______________________________
Total Payments                            Victim Rest Initial
_____________________________             ______________________________
Late charges                              Victim Rest Due
______________________________            ______________________________
Total Amount Due                          Total Payments
________________________                  ______________________________
In Collections?                           Late charges
______________________________            ______________________________
Refuse to help,                           Total Amount
why?__________________________            Due__________________________



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In Collections?
______________________________
Refuse to help,
why?_________________________
Email sent?
______________________________
Received data
_____________________________




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Instructions for initial calls/website research for 67 county clerks of the circuit
court:

   1. Check the clerk of the county court website (should be available from here
      https://www.flclerks.com/page/FindaClerk).
   2. Check the county clerk’s website to fill the following into the spreadsheet,
      answer Y for yes and N for no:
         a. Are public court records accessible online? (typically under “search
             court records”)
         b. Do you have to pay to access them?
         c. Can you search by name only?
         d. If yes to “c,” search using either last name Brown, first initial “w” or
             last name Johnson, first initial W:
                 i. Are you able to access information about individual fines, fees,
                    and restitution through the web?
                       1. Separated by type/purpose? (restitution/fines/fees?)
                       2. Sentencing or fines fees document available? (some may
                          be hidden)
                       3. Amount due for different fines/fees?
                       4. Total amount due?
                       5. About how long did it take you to access the information
                          about fines and fees for one case?
         e. Can you pay online?
         f. Do online payments cost money?
         g. What information do you need to pay online?
   3. Call the clerk of the county court’s office.
         a. “Hello, I have some questions. My [family member] wants to find out
             what he owes on his case so he can vote. What does he have to do?”
                 i. Directed to go online
                ii. Directed to call back with (list information)
               iii. Directed to come to clerks’ office
               iv. If offer to help now, say something like “he’s not with me now,
                    I’m just trying to help him do it later.”

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             v. Refused to help now—if you get something like have him call
                back since they’re his cases
      b. FOLLOWUP: IF say online or come to clerks’ office, ASK IF HE
         CAN DO IT OVER THE PHONE.
      c. What information does he need to have to look it up? Can you just use
         his name? (Mark all that are NECESSARY in the spreadsheet as
         “nec” and others that can be used as OPTIONAL (opt).
             i. Name
            ii. Date of birth
           iii. Case number/citation number
           iv. Other identifiers (list)
      d. Can you find how much he owes for all his cases at one time? Answer
         might be something like the following. Paraphrase the exact answer
         in the spreadsheet
             i. It depends on the number of cases
            ii. It depends on ….
           iii. Yes, we can look it all up at once
           iv. You need to email/call/write us with the info and we can get
                back to you in X days
             v. The online system will let you do that
      e. How long does this usually take? Record the exact answer in the
         spreadsheet.
      f. “Does he need to pay the whole thing or just part of it?”
             i. Can he put all the payment to just the fine or does it go to the
                late fees too?
      g. End the call—“I think I’ve got it. Thank you for your help”
      h. Did they volunteer the information that they could only look up
         information for cases in their county? (Yes/No)
      i. Time and Date of call
      j. Length of call
      k. Did someone answer on the first try?
      l. Placed on hold?
      m. NOTES
      n. NOTE: YOU CANNOT RECORD CALLS IN FLORIDA
         WITHOUT CONSENT OF BOTH PARTIES.
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Table: Cases by County w/ Error Rate
               Cases
               with
               Phone,
               FDLE,
               or
Conviction     Online   Total
County         Issue    Cases
Alachua        33       49      67.3%
Brevard        5        6       83.3%
Broward        98       100     98.0%
Clay           5        6       83.3%
DeSoto         1        1       100.0%
Dixie          1        1       100.0%
Duval          126      143     88.1%
Escambia       14       17      82.4%
FLAGLER        1        1       100.0%
Gadsden        7        7       100.0%

Hillsborough   156      160     97.5%
Holmes         1        1       100.0%
Jackson        1        1       100.0%
Lake           1        1       100.0%
Lee            2        2       100.0%
Leon           52       57      91.2%
Madison        1        1       100.0%
Manatee        1        1       100.0%
Marion         2        2       100.0%
Martin         1        1       100.0%

Miami-Dade     9        9       100.0%
Nassau         4        6       66.7%
Okaloosa       1        2       50.0%
Orange         6        6       100.0%
Osceola        12       15      80.0%

Palm Beach     3        3       100.0%
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               Cases
               with
               Phone,
               FDLE,
               or
Conviction     Online    Total
County         Issue     Cases
Pasco          6         6       100.0%
Pinellas       122       131     93.1%
Polk           3         3       100.0%
Putnam         1         1       100.0%
Seminole       1         1       100.0%
St. Lucie      1         1       100.0%
Sumter         1         1       100.0%
Taylor         1         1       100.0%
Volusia        12        13      92.3%
Wakulla        2         2       100.0%
Walton         1         1       100.0%


Table: Error Rates Over Time
           %
Years      Incorrect
1976-
1989       93.1%
1990-
1999       89.0%
2000-
2009       90.4%
2010-
2019       92.1%




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Table: Characteristics of Individuals in Sample
 Characteristic                         Number of Individuals
 Female                                 17
 Male                                   135
 Unspecified Gender                     1
 Black                                  97
 Hispanic*                              1
 White                                  54
 Unknown Race                           1
 Average Age                            46.33
 Total                                  153
*The FDLE records did not seem to include a Hispanic category for race, even
though some people coded as White or Black had surnames that the U.S. Census
Bureau lists as among the most common for people reporting Latino ethnicity.




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Pinellas County Online Database Records




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Hernando County Online Database Records




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Traci Burch

Employment
  • Associate Professor, Northwestern University Department of Political Science (2014-
     Present)

   •   Research Professor, American Bar Foundation (2007- Present)

   •   Assistant Professor, Northwestern University Department of Political Science (2007-
       2014)

Education
  • Harvard University
         Ph.D. in Government and Social Policy
         Dissertation: Punishment and Participation: How Criminal Convictions Threaten
                       American Democracy
  Committee: Jennifer Hochschild (Chair), Sidney Verba, and Gary King

   •   Princeton University
          A.B. in Politics, magna cum laude

Publications

   •   Kay Lehman Schlozman, Philip Edward Jones, Hye Young You, Traci Burch, Sidney
       Verba, Henry E. Brady. 2018. “Organizations and the Democratic Representation of
       Interests: What Happens When Those Organizations Have No Members?” Perspectives on
       Politics.

   •   Burch, Traci. 2016. “Political Equality and the Criminal Justice System.” In Resources,
       Engagement, and Recruitment. Casey Klofstad, ed. Philadelphia: Temple University
       Press.

   •   Burch, Traci. 2016. “Review of The First Civil Right by Naomi Murakawa.” The Forum.

   •   Kay Lehman Schlozman, Philip Edward Jones, Hye Young You, Traci Burch, Sidney
       Verba, Henry E. Brady. 2015. “Louder Chorus – Same Accent: The Representation of
       Interests in Pressure Politics, 1981-2011.” In Darren Halpin, David Lowery, Virginia
       Gray, eds. The Organization Ecology of Interest Communities. New York: Palgrave
       Macmillan.

   •   Burch, Traci. 2015. “Skin Color and the Criminal Justice System: Beyond Black-White
       Disparities in Criminal Sentencing." Journal of Empirical Legal Studies 12(3): 395-420.
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    Neighborhood Imprisonment.” Law & Policy 36(3) 223-255.

•   Burch, Traci. 2014. “The Effects of Imprisonment and Community Supervision on
    Political Participation.” Detaining Democracy Special Issue. The Annals of the American
    Academy of Political and Social Science 651 (1) 184-201.


•   Burch, Traci. 2013. Trading Democracy for Justice: Criminal Convictions and the Decline
    of Neighborhood Political Participation. Chicago: University of Chicago Press.

•   Hochschild, Jennifer, Vesla Weaver, and Traci Burch. 2012. Transforming the American
    Racial Order. Princeton: Princeton University Press.

•   Schlozman, Kay Lehman, Sidney Verba, Henry Brady, Traci Burch, and Phillip Jones.
    2012. “Who Sings in the Heavenly Chorus? The Shape of the Organized Interest System.”
    In Schlozman, Kay Lehman, Sidney Verba, and Henry Brady, The Unheavenly Chorus,
    Princeton: Princeton University Press.

•   Schlozman, Kay Lehman, Sidney Verba, Henry Brady, Phillip Jones, and Traci Burch.
    2012. “Political Voice through Organized Interest Activity.” In Schlozman, Kay Lehman,
    Sidney Verba, and Henry Brady, The Unheavenly Chorus, Princeton: Princeton University
    Press.

•   Burch, Traci. 2012. “Did Disfranchisement Laws Help Elect President Bush? New
    Evidence on the Turnout and Party Registration of Florida’s Ex-Felons.” Political
    Behavior 34 (1); 1-26.

•   Burch, Traci. 2011. "Turnout and Party Registration among Criminal Offenders in the
    2008 General Election." Law and Society Review 45(3): 699-730.

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    and Public Policy 10(3).

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    Racial Order.” Daedalus 140; 151-165.

•   Burch, Traci. 2009. “Can the New Commander-In-Chief Sustain His All Volunteer
    Standing Army?” The Dubois Review on Race 6(1).

•   Burch, Traci. 2009. “Review of Imprisoning Communities, by Todd Clear.” Law and
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     Nie. (New York: Routledge).

 •   Schlozman, Kay Lehman and Traci Burch. 2009. “Political Voice in an Age of
     Inequality,” in America at Risk: Threats to Liberal Self-Government in an Age of
     Uncertainty, ed. Robert Faulkner and Susan Shell (Ann Arbor: University of
     Michigan Press).

 •   Hochschild, Jennifer and Traci Burch. 2007. “Contingent Public Policies and the Stability
     of Racial Hierarchy: Lessons from Immigration and Census Policy,” in Political
     Contingency: Studying the Unexpected, the Accidental, and the Unforeseen, ed. Ian
     Shapiro and Sonu Bedi (New York: NYU Press).

Honors and Fellowships
 • American Political Science Association 2014 Ralph J. Bunche Award (for Trading
     Democracy for Justice).

 •   American Political Science Association Urban Section 2014 Best Book Award (for
     Trading Democracy for Justice).

 •   American Political Science Association Law and Courts Section 2014 C. Herman Pritchett
     Award (for Trading Democracy for Justice).

 •   Research grant, Stanford University Center for Poverty and Inequality (2012).

 •   American Political Science Association E. E. Schattschneider Award for the best doctoral
     dissertation in the field of American Government (2009)

 •   American Political Science Association William Anderson Award for the best doctoral
     dissertation in the field of state and local politics, federalism, or intergovernmental
     relations (2008)

 •   American Political Science Association Urban Section Best Dissertation in Urban Politics
     Award (2008)

 •   Harvard University Robert Noxon Toppan Prize for the best dissertation in political science
     (2007)

 •   Institute for Quantitative Social Sciences Research Fellowship (2006-07)


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   •   European Network on Inequality Fellowship (2005)

   •   Research Fellowship, The Sentencing Project (2005)

   •   Doctoral Fellow, Malcolm Weiner Center for Inequality and Social Policy (2004-07)

Professional Service
   • General Social Survey Board of Overseers (2020-2025)

   •   APSA Kammerer Prize Committee (2017)

   •   Associate Editor, Political Behavior (2015-2019)

   •   APSA Law and Courts Section, Lifetime Achievement Award Prize Committee (2014-
       2015)

   •   Law and Society Association, Kalven Prize Committee (2013-2014)

   •   American Political Science Association, Urban Politics Section Dissertation Prize
       Committee(2012-13)

   •   American Political Science Association, Urban Politics Section Executive Committee
       (2012-13)

   •   Law and Society Association Diversity Committee, (2012-2013)

   •   American Political Science Association, Urban Politics Section Program Co-Chair (2011)

   •   Associate Editor, Law and Social Inquiry

   •   American Political Science Association, Urban Politics Section Book Prize Committee
       (2009)

   •   Reviewer for The American Political Science Review, Public Opinion Quarterly, American
       Politics Research, and Time-Sharing Experiments in the Social Sciences.

Presentations and Invited Talks

   •   Pennsylvania State University, State College, PA. “Effect of Officer Involved Killings on
       Protest. November 2019.

   •   Princeton University. Princeton NJ. “Effects of Police Shootings on Protest among Young
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•   Missouri Fellows of the American Bar Foundation. Branson, MO. Police Shootings and
    Political Participation in Chicago. September 2019.

•   Northwestern University. “Police Shootings and Political Participation.” November,
    2018.

•   Princeton University. Princeton, NJ. “Police Shootings and Political Participation.”
    September, 2018.

•   University of California at Los Angeles. Los Angeles, CA. “Police Shootings and Political
    Participation.” August, 2018.

•   American Bar Association Annual Meeting. Chicago, IL. “Police Shootings and Political
    Participation.” August 2018.

•   American Bar Endowment Annual Meeting. Lexington, KY. “Effects of Police Shooting
    in Chicago on Political Participation.” June 2018.

•   Vanderbilt University. “Effects of Police Shootings in Chicago on Political Participation.”
    April 2018.

•   Washington University in St. Louis. “Effects of Pedestrian and Auto Stops on Voter
    Turnout in St. Louis.” February 2018.

•   Fellows of the American Bar Foundation, Los Angeles. “Assaulting Democracy.” January
    2018.

•   Northwestern University Reviving American Democracy Conference. Panel presentation.
    “Barriers to Voting.” January 2018.

•   University of Illinois at Chicago. “Effects of Police Shootings in Chicago on Political
    Participation.” October, 2017.

•   Chico State University. “Constitution Day Address: Policing and Political Participation.”
    September, 2017.

•   Fellows of the American Bar Foundation, Atlanta, Georgia. “Policing in Georgia.” May
    2017.

•   United States Commission on Civil Rights. Testimony. “Collateral Consequences of Mass
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 •   Northwestern University Pritzker School of Law. “Effects of Police Stops of Cars and
     Pedestrians on Voter Turnout in St. Louis.” April 2017.

 •   University of California at Los Angeles. Race and Ethnic Politics Workshop. “Effects of
     Police Stops of Cars and Pedestrians on Voter Turnout in St. Louis.” March 2017.

 •   University of North Carolina at Chapel Hill. American Politics Workshop. “Effects of
     Police Stops of Cars and Pedestrians on Voter Turnout in St. Louis.” February 2017.

 •   National Bar Association, St. Louis MO. “Political Effects of Mass Incarceration.” July
     2016.

 •   Harvard University, Edmond J. Safra Center for Ethics. Inequalities/Equalities in Cities
     Workshop. April 2016.

 •   American Political Science Association Annual Meeting.                September 2015.
     “Responsibility for Racial Justice.” Discussant.

 •   St. Olaf College. April 2015. “The Collateral Consequences of Mass Incarceration.”

 •   Northwestern University. Institute for Policy Research. February 2015. “The Civic Culture
     Structure.”

 •   Texas A&M University. Race, Ethnicity, and Politics Workshop. September 2014.
     “Trading Democracy for Justice.”

 •   Columbia University Teachers College. The Suburban Promise of Brown Conference.
     May 2014. “Can We All Get Along, Revisited: Racial Attitudes, the Tolerance for
     Diversity, and the Prospects for Integration in the 21st Century.”

 •   University of Kentucky. Reversing Trajectories: Incarceration, Violence, and Political
     Consequences Conference. April 2014. “Trading Democracy for Justice.”

 •   University of Chicago. American Politics Workshop. March 2014. “How Geographic
     Differences in Neighborhood Civic Capacity Affect Voter Turnout.”

 •   Kennedy School of Government, Harvard University.           February 2014.      “Trading
     Democracy for Justice.



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 •   University of Michigan.    American Politics Workshop.     December 2013.      “Trading
     Democracy for Justice.”

 •   Yale University. American Politics and Public Policy Workshop. September 2013.
     “Trading Democracy for Justice.”

 •   American Political Science Association Annual Meeting. August 2013. “The Heavenly
     Chorus Is Even Louder: The Growth and Changing Composition of the Washington
     Pressure System.” With Kay Lehman Schlozman, Sidney Verba, Henry Brady, and Phillip
     Jones.

 •   National Bar Association, Miami Florida, July 2013. “The Collateral Consequences of
     Mass Imprisonment.”

 •   Loyola University. American Politics Workshop. December 2012. “Mass Imprisonment
     and Neighborhood Voter Turnout.”

 •   Marquette University School of Law. November 2012. “The Collateral Consequences of
     Mass Imprisonment.”

 •   Yale University. Detaining Democracy Conference. November 2012. “The Effects of
     Imprisonment and Community Supervision on Political Participation.”

 •   Brown University. American Politics Workshop. October 2012. “Mass Imprisonment
     and Neighborhood Voter Turnout.”

 •   American Bar Association National Meeting, August 2012.          “Mass Imprisonment:
     Consequences for Society and Politics.”

 •   University of Madison-Wisconsin. American Politics Workshop. March 2012. “The
     Spatial Concentration of Imprisonment and Racial Political Inequality.”

 •   American Political Science Association Annual Meeting. 2011. “Theme Panel: How
     Can Political Science Help Us Understand the Politics of Decarceration?”

 •   University of Pennsylvania. Democracy, Citizenship, and Constitutionalism Conference.
     April, 2011. “Vicarious Imprisonment and Neighborhood Political Inequality.”

 •   University of Chicago School of Law. Public Laws Colloquium. Chicago, IL. November,
     2010. ““The Effects of Neighborhood Incarceration Rates on Individual Political Efficacy
     and Perceptions of Discrimination.”


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 •   Pomona College. November, 2010. “Incarceration Nation.”

 •   University of Washington. Surveying Social Marginality Workshop. October 2010.
     “Using Government Data to Study Current and Former Felons.”

 •   American Bar Foundation, Chicago, IL, September 2010. “The Effects of Neighborhood
     Incarceration Rates on Individual Political Attitudes.”

 •   Northwestern University. Chicago Area Behavior Conference. May 2010. “Trading
     Democracy for Justice: The Spillover Effects of Incarceration on Voter Turnout in
     Charlotte and Atlanta.”

 •   Annual Meeting of the Law and Society Association, Chicago, IL, May 2010.
     “Neighborhood Criminal Justice Involvement and Voter Turnout in the 2008 General
     Election.”

 •   Annual Meeting of the Southern Political Science Association, Atlanta, GA, January 2010.
     “The Art and Science of Voter Mobilization: Grassroots Perspectives on Registration and
     GOTV from Charlotte, Atlanta, and Chicago.”

 •   University of Illinois at Chicago. Institute for Government and Public Affairs. November
     2009. "Turnout and Party Registration among Convicted Offenders during the 2008
     Presidential Election."

 •   Annual Meeting of the American Political Science Association, Toronto, Ontario, Canada,
     September 2009. "'I Wanted to Vote for History:' Turnout and Party Registration among
     Convicted Offenders during the 2008 Presidential Election."

 •   Harris School of Public Policy, University of Chicago. American Politics Workshop.
     December 2008. “Trading Democracy for Justice? The Spillover Effects of Imprisonment
     on Neighborhood Voter Participation.”

 •   Northwestern University School of Law. Law and Political Economy Colloquium.
     November 2008. “Did Disfranchisement Laws Help Elect President Bush? New Evidence
     on the Turnout Rates and Candidate Preferences of Florida's Ex-Felons."

 •   University of California, Berkeley. Center for the Study of Law and Society. October
     2008. “Trading Democracy for Justice? The Spillover Effects of Imprisonment on
     Neighborhood Voter Participation.”

 •   Law and Society Association Annual Meeting, Montreal, Canada, May 2008.
     “Did Disfranchisement Laws Help Elect President Bush? New Evidence on the Turnout
     Rates and Candidate Preferences of Florida's Ex-Felons."
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   •   Law and Society Association Annual Meeting, Montreal, Canada, May 2008. "Trading
       Democracy for Justice? The Spillover Effects of Imprisonment on Neighborhood Voter
       Participation."

   •    Midwest Political Science Association Conference, Chicago, IL, April 2007. Paper:
       “Concentrated Incarceration: How Neighborhood Incarceration Decreases Voter
       Registration.”

Works in Progress

   •   Burch, Traci. “Effects of Pedestrian and Auto Checks on Voter Turnout in St. Louis.”

   •   Burch, Traci. “Effects of Police Shootings on Political Participation in Chicago.”

   •   Burch, Traci. “Which Black Lives Matter? Agenda Setting and Police Violence”

   •   Burch, Traci. “Exploring the effects of Police Misconduct on Political Participation at the
       Local Level”

   •   Burch, Traci. “How Common is Policing for Profit? Examining City Revenues from Fines,
       Forfeitures, and Fees.”

   •   Burch, Traci. “Vicarious Imprisonment and Political Inequality: How the Spatial
       Concentration of Imprisonment Shapes Black Voter Turnout.” Chapter in edited volume
       at University of Pennsylvania Press. Book manuscript under review.

   •   Burch, Traci. “The Civic Culture Structure: Neighborhood Organizational Presence and
       Voter Turnout”




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